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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                   Case No.: 9:16-cv-81798-DMM

  TTT Foods Holding Company LLC,
  a Florida limited liability company,
                  Plaintiff,
  v.

  BEATRICE NAMM, an individual,
  JONATHAN NAMM, an individual,
  and DELUXE GOURMET
  SPECIALTIES LLC, a New Jersey
  limited liability company,
                   Defendants.
  _________________________________/


                DEFENDANTS’ NOTICE OF WITHDRAWAL OF THE
                TH
             15 AFFIRMATIVE DEFENSE CONTAINED IN DEFENDANTS’
           SECOND AMENDED ANSWER, AFFIRMATIVE DEFENSES (DOC 50)

         COME NOW the Defendants, BEATRICE NAMM, JONATHAN NAMM, and

  DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited liability company, by and

  through the undersigned attorneys, and file this their notice withdrawing the 15th Affirmative

  Defense contained in their Second Amended Answer, Affirmative Defenses (DOC 50).

                                                       /s/ Agustin R. Benitez
                                                       AGUSTIN R. BENITEZ, ESQUIRE
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